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UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICOT

DAVID MOORE, MICHAEL MCCLAIN,

ROGER FALCONE, DANIEL LORIS

and CAROLINE MORETTI, No. 3:21CV787 (VAB)
Plaintiffs, April 3, 2024

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SHAWN SEHQUEIRA, MARK LAURETTI
and CITY OF SHELTON,

Defendants.

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JURY TRIAL - DAY 2

BE FOR E:

141 Church Street
New Haven, Connecticut

THE HONORABLE VICTOR A. BOLDEN, U.S.D.d.

AND A JURY

APPEARANCE S:
For the Plaintiffs:

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ADAM J. DIFULVIO, ESQ.

Official Court Reporter:
Melissa J. Cianciullo, RDR, CRR,
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CRC

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oO. Yes, please.
A, So relevant to this, there was discussion
that officers were being relegated to change in the
parking lot at the police department, and there was a
lot of outrage expressed about that, particularly by
the two female officers who as well were changing
often in the parking lot. And so counsel said that
we could file --
MR. MONASTERSKY: Objection.
THE COURT: Sustained.
MS. HOLMES: Okay.

BY MS. HOLMES:

Q. Was there anything that you were asked to do
-- well, let me withdraw that question.

When you left that meeting, what was your
understanding of what was going to happen?

A. It was proposed to the membership that in an
effort to --

MR. MONASTERSKY: Objection.
THE COURT: Sustained.
BY MS. HOLMES:

Q. What did you understand you were going to do?

A. In an effort to document working conditions,
we were going to photograph people changing or be

willing to be photographed in the process of changing

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in the parking lot.

Q. And what were those pictures going to be used
for solely?

A. It was clear it was as potential evidence
should we file a charge with the state board of labor
relations.

QO. And how many people were in attendance at
that meeting, how many officers?

A. I can only describe it that it was the
overwhelming majority of the membership.

Q. Now, instead of responding to the union's
request to negotiate, was there another order issued
by Mayor Lauretti and Chief Sequeira regarding the
bathrooms and locker rooms?

MR. MONASTERSKY: Objection.
THE COURT: Sustained. It's as to the form.
BY MS. HOLMES:

QO. Did another directive come out from Mayor
Lauretti and Chief Sequeira regarding the closures of
the bathrooms?

A. There was a special order issued on May 19th.

MS. HOLMES: Your Honor, I'll be asking to
admit Exhibit 14, Plaintiff's Exhibit 14.
MR. MONASTERSKY: No objection.

THE COURT: Exhibit 14 is admitted into

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Q. Okay. Now, on June 4th of 2020, was there a
post on Facebook of some pictures of the officers
changing?

A. There was.

Oo. Did you observe that post?

A. I did.

Q. And how did that post get up on Facebook, if

you have personal knowledge?
MR. MONASTERSKY: Could we have a proffer?
THE COURT: Sure. Let's have a sidebar.
(SIDEBAR COMMENCED, 10:00 a.m.)

THE COURT: I just want to understand what

you're --

MR. MONASTERSKY: Well, he's saying if you
have personal knowledge. I mean --

MS. HOLMES: Well, he observed it.

THE COURT: Yeah. He saw --

MR. MONASTERSKY: I have no problem with him
saying he observed it. The question was how did they

get up there and --

THE COURT: Oh, oh,

MS. HOLMES: He has personal knowledge of
that as well because the business representative of
the union put it up there and he knows that.

THE COURT: But how does he know that? Was

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he told that or did he witness it?

MS. HOLMES: Well, he witnessed it because --
you don't want to let the exhibit in. But when you
look at the posting, it's says "Michael Lewis posted
it up on the Support the Shelton Police Union."

MR. MONASTERSKY: I have no problem with him
saying if it says Michael Lewis posted it.

THE COURT: That's fine. Okay.

(SIDEBAR CONCLUDED, 10:01 a.m.)

THE COURT: Go ahead.

MS. HOLMES: Thank you, your Honor.

BY MS. HOLMES:
Q. On June 4th of 2020, did you personally
observe a posting on Facebook with some pictures of

the officers changing?

A. I did.
Q. And who put up that post?
A; Business representative for the Shelton

Police Union, Michael Lewis.

Q. And what did the pictures show?

A. It was a six-frame posting and it showed six
different officers in some state of undress in the
Shelton Police parking lot.

MS. HOLMES: And, your Honor, I'm going to

offer Exhibit 130 as the Facebook pictures.

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(SIDEBAR CONCLUDED, 10:05 a.m.)
THE COURT: All right. Next question,
BY MS. HOLMES:

QO. Mr. Moore, when you saw this Facebook post,
did you see that there were a lot of comments?

A. I did.

Q. Now, were you personally involved with any
taking of the pictures and providing them to the
union?

A. I did not take any of those pictures. In
fact, I don't even recall ever taking a picture of
anybody myself.

Q. Well, what would have been your involvement
in terms of providing the pictures to the union?

A. The only picture that I had any involvement
with was the -- was Officer Moretti had sent to me
pictures. I don't recall the date. And I forwarded
those to Mike Lewis.

Qo. And, again, taking these pictures was for
what purpose based on your union --

MR. MONASTERSKY: Objection. He didn't -~
THE COURT: Sustained.
BY MS. HOLMES:
Q. As the union vice president, what was the

union purpose of having these pictures taken?

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MR. MONASTERSKY: Yeah, let me. Would this
be 131?
MS. HOLMES: I'm still going to --
MR. MONASTERSKY: I understand that.
Whatever the Court prefers with marking it. I don't

have an objection.

THE COURT: So Exhibit 23-A, there is no
objection to Exhibit 23-A as it's been marked. All
right. Exhibit 23-A is admitted into evidence.

MS. HOLMES: Okay.

BY MS. HOLMES:

Q. Mr. Moore, I'm showing you Exhibit 23-A.
This is from the Shelton Police Department on their
Shelton Facebook page. [It's dated June 4th =
June 9th of 2020. Could you just read that into the
record, please?

A, sure,

"A message from Chief Shawn R. Sequeira.

"It has been brought to my attention that
images allegedly of Shelton police officers changing
in public have been posted to social media. At this
time I cannot disclose anything regarding this
possible indecent exposure because there is an active
investigation into this matter. The Sheiton Police

Department does not promote or condone indecent

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exposure in any public place. Members of the Shelton
Police Department are required to maintain high
standards of moral character, integrity and
professionalism at all times."
Q. Okay. And how many comments were generated

in response to that post?

MR. MONASTERSKY: Objection.

THE COURT: Yeah. Sustained.

MS. HOLMES: It's fully exhibit -- it's a
fuli exhibit.

THE COURT: Fine. He gave the number, 225,
BY MS. HOLMES:

Q. I'm sorry. Can you tell us what the number

of comments is to that post?

THE COURT: Put it back. He can -- go ahead.

MS. HOLMES: Right.

MR. MONASTERSKY: I do have an objection.

THE COURT: I understand.

MR. MONASTERSKY: Based upon we don't know
when this screenshot was taken.

THE COURT: Yeah. I understand.

MR. MONASTERSKY: It, could have been taken --

THE COURT: I got you. Objection overruled.
He can just state the number of comments.

BY MS. HOLMES:

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Q. How many comments were made to this post?

A. Based on this evidence, 225 comments, 57
shares,

Q. So on June 4th of 2020, that's when Mike

Lewis put up the pictures of the officers changing?

A. Yes. That was his domain, that is not an
affiliated Shelton Police Union domain, and he did
that, yes.

Q. Okay. And then this post from the chief was
put up on June 9th of 2020?

A, June 9th, yes.

Q. Did Sequeira then in fact launch internal
affairs investigations as to these officers?

A. I believe officers were issued their notice
of IAs on the 12th of June.

Q. Were you a target of that particular
investigation?

MR. MONASTERSKY: Objection.
THE COURT: Sustained as to form.

BY MS. HOLMES:

Q. Were you issued any notification that you
were the subject of the Facebook investigation?

A. I was not.

oO. And are you okay with me calling that "the

Facebook investigation"?

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A. Sure.
Q. Now, at some point did Chief Sequeira hold an

or attend a rally in front of the police department?

A. He did.

Q. Do you know what the date of that is?
A. June 15th, 2020.

Q. And were you present for that?

A. Not as an attendee. I was parked in a

parking spot in an adjacent parking area.
Q. Could you see --

THE COURT: Ms. Holmes, you have the thing up
on the screen. If you're not showing an exhibit,
that shouldn't be on the screen.

MS. HOLMES: Oh, I'm sorry, your Honor,

THE COURT: That's okay. Go ahead.

BY MS. HOLMES:

Q. Okay. I'm sorry. You said not as an
attendee, but you could see him?

A. I couid see and hear most of what occurred.

Q. And was he using any device to speak to the
public?

A. There was a bullhorn that was -~ I call it a
bullhorn, I think that's proper -- that was used by
the guest speakers and also Chief Sequeira.

Qa. How many people were in attendance?

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A. Pifteen, maybe 18 tops.

Q. Were there any other officers present at this
time as well?

A, Not as attendees. They were there in
uniform. It would have been Lieutenant Yerzak,
Lieutenant Kozlowsky, Officer Vinhais and Officer
Staples and as well Officer Eldridge was -- I believe

he was on overtime and he was there just to sort of
manage traffic control in and out of the police

department parking lot if that was necessary.

Q. And what did you hear Chief Sequeira say?
A. So there were three introductions of the
chief and then he was handed the -- there was three

introductions of the chief from known political
figures and then he was handed the bull= --

Qo. What did the chief say?

A. He was handed the bullhorn and some of the
things he said, initially he thanked people for being
there. He said he appreciated their support but he
didn't need their support. He said these people are
lightweights.

He then went on to describe that no one was
ordered -- I believe that no one was ordered to
change in the parking lot, that officers, ali

officers were given keys to the farmer's market as an

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option for bathroom use, which was not true.
He stated early on also as part of the
initial description that he had the full support of
his major and his board of aldermen. He came back to

that further into the rally where after he described
that he didn't need any help because the issues here
are the 5 percenters of every organization, the
people that try him on a daily basis.

And then from that he transitioned into, I
don't -- I think that these 5 percenters have
actually secured his job, he just got off the phone
with Mark Lauretti and was told he could stay as long
as he wants,

He then oddly transitioned to a statement, I
believe it was about Michael Lewis, and he said, “I
never laid eyes on this rat."

Then there were some other exchanges and the

rally sort of abruptly ended.

Q. Now, at some point a rally is organized to
support the Shelton police officers. Do you recall
that?

A. I do.

Qo Who organized that rally?

A. It was a Shelton resident named Chris Jones.

Q Okay. And what was your involvement in

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getting that rally put together?
A, In terms of organizing that rally, I had no
involvement.
Q. Did you have any involvement in promoting the
rally?
A. Just to the extent that Chris Jones asked me

to post in the locked union bulletin board inside the
police department a flyer that he had designed and
censtructed so that officers would hopefully be aware
that the raily was actually going to take place.
MS. HOLMES: Your Honor, I would like to
offer Plaintiff's 26.
MR. MONASTERSKY: I just want to take a quick
look. I probably do not have a
No objection.
THE COURT: All right. Exhibit 26 is
admitted into evidence.
BY MS. HOLMES:
Q. All right. Mr. Moore, is this the flyer that
you put up at the Shelton Police Department?
A. Yes, it is.
Q. And just tell me, what does this flyer say?
Just because I can't show the whole thing on my
screen.

A, It's just an announcement that on July 2nd,

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2020, there would be a rally in support of the
officer -- I believe it says officers of the
Shelton --

Q. What does the title say on the top there?

A. "The thin blue line. Peaceful rally for a
cause."

Qo. And that was going to take place at 6 p.m. on
July 2nd?

A. Correct.

Q. So what did you do with this flyer?

A. I unlocked the bulletin board and I

thumb-tacked it to the corkboard that's inside there

and I locked it and closed it.

Q. Just for the jury, explain what you mean by
"the board." What board are you talking about?
A, So there is a -- in the roll call room of the

police department, there is a 2-by-3 enclosed
bulletin board that has a locking door on it, and we
would pest union-related documents in that enclosure
whenever they were applicable.

The notification of a union meeting coming up
would be one of the very common uses of that. If
there was information or some discussion, court
decision that was relative to unions, that might go

in there.

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flyer? You can explain the timeline of this exhibit,

Mr. Moore.

A. T actually received two e-maiis from the
chief.

Q Okay. What --

A This is -- this represents the second one.

Q. When did you receive the first one?

A So I posted that flyer on the 29th of -- I'm

sorry, the 29th of June. On the 30th, I came to work
at that time now 4 o'clock, I was working evening
shift at that time, and I received an e-mail ordering
that the flyer be taken down. And then there was a
series of questions that I had to answer. That
e-mail was also sent to union president John
Napoleone.

So I did take it down as I was ordered to do
and I noted it in my daily shift report, which is a
summary that the supervisor has to submit at the end
of the shift.

And then on the ist of July, which is in fact
the last day that I physically ever worked at the
Shelton Police Department, I received this e-mail
here. And, again, it's now one of the -- in this one
he says, "I appreciate you taking the flyer down."

And then the next paragraph steps into a whole series

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A. Officially, no.
Q. So when you went to the rally, how many
people were in attendance?
A. Three to 400, I think is a good estimate.
Q. Was there any media coverage?
A. There was.
QO. Who was there?
A. Fox 61.
Q. Were they providing live coverage?
MR. MONASTERSKY: Objection.
MS. HOLMES: If you know.
THE COURT: Objection overruled.
BY MS. HOLMES:
Q. Do you know what kind of coverage Fox 61 was
reporting?
A. They reported live from the actual rally.
Q. And did you in fact speak at the rally?
A. Briefly, yes.
Q. All right. And who else spoke there?
A. Chris Jones, Union President John Napolieone,

David Eldridge. I believe that was it.

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Was Mike McClain at the rally?
He was.
Caroline Moretti, was she at the rally?

She was.

